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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA                       )   Criminal No.     5:23-MJ-632 (TWO)
                                                )
               v.                               )   Stipulation and Order
                                                )   for Enlargement of Time
 PATRICK DAI                                    )
                                                )
                                                )
               Defendant.                       )


                                        STIPULATION


       The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of New York, and the defendant, Patrick Dai, by and through

counsel, Lisa Peebles, Esq ., hereby agree and stipulate that the time within which an indictment

must be filed under Title 18, United States Code, Section 3161(b), be enlarged to and including

sixty (60) days from the date of the order, and that such time be excluded, pursuant to Title 18,

United States Code, Section 3161 (h)(7)(A), from the computation of the time within which an

indictment must be filed under the provisions of Title 18, United States Code, Section 316 l(b) .

1)     The chronology of this case is as follows:

       a)      Date of complaint: November I, 2023

       b)      Date of initial appearance : November l , 2023

       c)      Defendant custody status: Pretrial detention

2)     There have been no prior exclusions of time under the Speedy Trial Act.

3)     The United States and/or the defendant request this exclusion based on the following facts

and circumstances:
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       a)      The ongoing investigation into the defendant's criminal activity includes the

forensic examination of the defendant's electronic devices. The parties require the additional time

to allow for completion of the forensic analysis of said electronic devices.            Until the full

examination is complete, the extent of the defendant's crime, and any defense thereto, cannot be

determined.

4)     The parties stipulate and agree that the ends of justice served by granting this extension

outweigh the best interest of the public and the defendant in a speedy indictment and trial because

the arrest occurred at a time such that it is unreasonable to expect return and filing of an indictment

within the period specified in section 3161 (b), taking into account the exercise of due diligence

(see 18 U.S.C. § 3161(h)(7)(B)(iii).

5)     The parties stipulate and agree that the 60 day period from the date of the order, shall be

excludable under the Speedy Trial Act pursuant to 18 U .S.C. § 3161 (h)(7)(A) and (h)(7)(B)(iii).

       The undersigned attorneys affirm under penalty of perjury the accuracy of the facts set

forth above and apply for and consent to the proposed order set forth below.

 Dated:            I
            11/~ .;>-3                                CARLA 8 . FREEDMAN
                                                      United States Attorney

                                           By:

                                                      ~:;~~rt!it::36 ~
                                                      Bar Roll No . 513495



                                                      Lisa Peebles, Esq.,
                                                      Attorney for Patrick Dai
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                                             ORDER


A.     The Court adopts the stipulated facts set out above as findings and hereby incorporates

them into this Order;

        I.     The Court has considered its obligation under 18 U.S.C. § 3 161 (h)(7)(A) to

determine whether an extension of time within which the government must file an information or

indictment serves the ends of justice in a manner that outweighs both the public interest and the

defendant's rights. The Court finds that, pursuant to 18 U.S.C. § 316l{h)(7)(A), the ends of justice

served by granting the requested continuance outweigh the best interest of the public and the

defendant in a speedy indictment and trial because the arrest of the defendant for effective

preparation for the return and filing of an indictment, taking into account the exercise of due

diligence.

       BASED ON THE STIPULATED FACTS AND THE COURT'S RELATED FINDINGS,

IT IS HEREBY ORDERED that the time within which an indictment must be filed under the

provisions of Title 18, United States Code, Section 3161 (b ), be enlarged to and including sixty

(60) days from the date of this Order, and that time be excluded pursuant to Title 18, United States

Code, Section 3161 (h)(7)(A), from the computation of the time within which an indictment must

be filed under the provisions of Title 18, United States Code, Section 3161 (b ), because the ends of

justice served by granting this continuance outweigh the best interest of the public and the

defendant in a speedy trial for the reasons stipulated above.

IT IS SO ORDERED.

Dated and entered this _20
                         __ _ day of November, 2023.

                                                           Hon .Therese Wiley Dancks
                                                           U.S. Magistrate Judge


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